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                        EXHIBIT A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               X

 In re                                                                  Chapter 11

 Nortel Networks Inc., et al.,l                                         Case No. 09-10138 (KG)

                                      Debtors.                         Jointly Administered

                                                                       RE: D.I. 1348



                   STIPULATION WITH RESPECT TO MOTION OF
              GRAYBAR ELECTRIC COMPANY,INC. FOR ALLOWANCE OF
            YAD         TIVE                   UANT T
          WHEREAS, on January 14,2009 (the "Petition Date"), Nortel Networks Inc. (,,NNI")

 and certain of its affiliates (together with NNI, the "Debtors") filed voluntary petitions
                                                                                                            for relief

 under chapter 11 of title 11 of the United States Code (the "B_anknlp!qy_Codg',)
                                                                                                   in the United

 States Bankruptcy court for the District of Delaware (the "Bgrknlplcy_eourt,,);

          WHEREAS, on July 14,2009, Nortel Networks (CALA) Inc. (,,NN_(IALA,'),
                                                                                                          an affiliate

of NNI, filed a voluntary petition for relief under chapter 1l of the Bankruptcy
                                                                                                  Code, and on July

 17 , 2009, the Bankruptcy Court entered orders approving
                                                                       the joint administration and

consolidation of NN CALA's chapter 1l case with the other Debtors' chapter
                                                                                                 l1 cases for
procedural proposes [D.I' 1098], and applying to NN CALA certain previously
                                                                                                  entered orders in

the Debtors' chapter 1l cases [D.I. 1099];



 '       The Debtors in these chapter l1 cases, along with the last four digits of
                                                                                     each Debtor,s tax identification
number, are: Norlel Networks rnc. (6332),Nortel Nitworks Capital
                                                                        Corporation (g620),Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (ir
                                                                      ar), sonoma Systems (2073),etera corporation
!0211), CoreTek, rnc. (5722),Nortel Networks Application, tvtunag#ent Solutions lnc.'ega6),iortel Networks
optical components Inc. (3545)' Nortel Networks HPocS Inc. (35?6), Architel
                                                                                     Systems (U.S.) corporatron (3826),
Nortel Networks International Inc. (0358), Northern Telecom Iniernationar
                                                                               tnc. $ircy,Nortel irietworks cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).
                                                                     Addresses for the Debtors can be fbund in the
Debtors' petitions, which are available at http://chapterl l.epiqiystems.com/nortel.
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         WHEREAS, on August 19,2009, Graybar Electric company, Inc. ("Gravbar," and

 together with NNI, the "Parties") filed the Motion of Graybar Electric Company, Inc. for

 Allowance of 20- Day Administrative Expense Claim Pursuant to I I U.S.C. $503(bX9)
                                                                                                 tD.I.
 1348] (the "Motion") seeking allowance of a claim under section 503(bX9) of the Bankruptcy

 Code for certain goods;

         WHEREAS, NNI has reviewed its books and records in an effort to reconcile such claim;

         WHEREAS, the Parties agree that NNI received the goods referenced on the invoices

 listed on Exhibit I attached hereto within twenty (20) days prior to the petition Date in the

 ordinary course of NNI's business;

IT IS HEREBY AGREED AND STIPULATED THAT:

         l.     This stipulation is subject to Bankruptcy Court approval and shall become

effective on the date of the court's entry of an order approving the stipulation.

        2.      Graybar shall have an allowed administrative claim under l1 U.S.C.
                                                                                            $503(bX9)
for the goods identified on the invoices listed on Exhibit l (the,,sgn!9!qgn!_Geads"),
                                                                                             which is
entitled to a priority under l1 U.S.C. $507(a)(2), in the amount of $839.63 (the ,,Allowed

Claim") in NNI's chapter l l case.

        3'      The Allowed Claim shall be paid on the earliest of (i) a confirmed
                                                                                         and effective

plan in accordance with section I129(a)(9)(A) of the Bankruptcy
                                                                      Code or as otherwise required

by section 726 of the Bankruptcy code, or (ii) such other date that l l
                                                                              u.s.c. g503(bx9)
claimants, as a class, are paid; or (iii) such earlier time as agreed to by
                                                                              the parties or ordered bv

the Court.

       4'       This stipulation fully resolves the Motion, any other claims under
                                                                                        I I U.S.C.

$503(bX9) that Graybar may have against any of the Debtors and any other or fuither claims
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Graybar may have against the Debtors with respect to the goods identified on the invoices listed

on Exhibit L

       5.      In the event this stipulation is not approved, the Parties reserve all of their rights

and defenses with respect to the Motion, and this proposed settlement and the statements

contained herein shall not constitute an admission by either of the Parties with respect to the

validity or extent of the Motion or the claims asserted thereunder, or by the Debtors that they

have anv liabiliw thereunder.
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Dated: q I U,zooe
       ffi
GRAYBAR ELECTRIC COMPANY. INC.                             ETWORKS INC.



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                                               and Debtors in Possession
